                     UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF WISCONSIN – MILWAUKEE DIVISION

TAQUAYLA RUCKER, individually and )             Case No.: 2:21-cv-692-BHL
on behalf of all others similarly situated, )
                                                COLLECTIVE ACTION
                                            )
       Plaintiff,                           )
                                            )   PLAINTIFF’S UNOPPOSED MOTION FOR
v.                                          )   APPROVAL OF FLSA SETTLEMENT
                                            )
MILWAUKEE ENTERTAINMENT LLC )
dba HEART BREAKERS, a Wisconsin )
Limited Liability Corporation; and DOES )
1 through 10, inclusive,                    )
                                            )
       Defendants.                          )
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       TO THIS HONORABLE COURT AND ALL PARTIES AND THEIR

ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that plaintiff Taquayla Rucker (“Plaintiff”) will and hereby

does move this Court pursuant to the Fair Labor Standards Act (“FLSA”) for approval of the

settlement agreement reached between Plaintiff and defendant Milwaukee Entertainment LLC

dba Heart Breakers (“Defendant”).

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PLAINTIFF’S UNOPPOSED MOTION FOR APPROVAL OF FLSA SETTLEMENT


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                    MEMORANDUM OF POINTS AND AUTHORITIES

I.     INTRODUCTION

       Plaintiff Taquayla Rucker (“Plaintiff” or “Rucker”) worked as an exotic dancer at Heart

Breakers Gentlemen’s Club. The club is owned and operated by defendant Milwaukee

Entertainment LLC dba Heart Breakers (“Defendant” or “Heart Breakers”).

       On June 3, 2021, Ms. Rucker brought this action seeking to recover wages owed to her

and other dancers who have been classified as independent contractors at Heart Breakers under

the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201, et seq. See Dkt. 1. The Complaint

contained causes of action for (1) Failure to pay minimum wages, 29 U.S.C. § 206; (2) Failure to

pay overtime wages, 29 U.S.C. § 207; (3) Illegal Kickbacks, 29 C.F.R. § 531.35; (4) Unlawful

taking of tips, 29 U.S.C. § 203; and (5) Forced Tip Sharing, 29 C.F.R. § 531.35. See Dkt. 1.

       The parties were actively engaged in discovery, and Plaintiff was anticipating filing a

Motion for Conditional Certification pursuant to 29 U.S.C. 216(b) at the time of the settlement.

Counsel engaged in good faith settlement discussions and reached an agreement for which

Plaintiff is now seeking approval. Plaintiff seeks approval of the Full Settlement and Final

Release of All Claims (“Agreement”) attached as Exhibit 1 to the Declaration of John P.

Kristensen (“Kristensen Decl.”). Pursuant to the Agreement, Defendant will pay Plaintiff a gross

settlement of $15,000, with $5,000 allocated to Plaintiff and $10,000 allocated to Plaintiff’s

attorney’s fees. See Kristensen Decl. at ¶ 19; Exhibit (“Ex.) 1. Plaintiff seeks $9,553 in attorney’s

fees and $447 in costs. See Kristensen Decl. at ¶¶ 19, 31; Ex. 1. This amount reflects a favorable

outcome for Plaintiff, far in excess of what would be expected in a similar Fed. R. Civ. P. 23

class action settlement. Furthermore, the fee request is roughly $2,700 less than Plaintiff’s




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counsel’s lodestar, virtually identical to other rates approved for FLSA settlements, and therefore

reasonable. See Kristensen Decl. at ¶¶ 31, 38-44.

II.     FACTUAL BACKGROUND

        Plaintiff worked as an exotic dancer at Heart Breakers in Milwaukee, Wisconsin from

approximately 2019 to 2020. See Complaint, Dkt. 1, ¶ 2. Defendant contended Plaintiff only

worked a single shift at Heart Breakers on March 29, 2019. Plaintiff claims she was not properly

compensated due to her misclassification as an independent contractor. Defendant denied the

allegations, denied liability, denied that the claims were appropriate for collective treatment, and

asserted various affirmative defenses in their Answer. See Answer Dkt. 8.

III.    LEGAL GROUNDS OF PLAINTIFF’S CLAIMS

        Plaintiff differentiated five types of claims for the dancers. The first two were for failure

to pay minimum wage or overtime. However, Plaintiff also had three other forms of damages

that they contended they were owed by the Defendants. See Kristensen Decl. ¶ 23.

        First, Plaintiff contends that dancers were charged house fees to work, which fees were

illegal kickbacks pursuant to 29 C.F.R. § 531.35. See Kristensen Decl. at ¶ 24. That regulation

states, in pertinent part, as follows:

                Whether in cash or in facilities, “wages” cannot be considered to
                have been paid by the employer and received by
                the employee unless they are paid finally and unconditionally or
                “free and clear.” The wage requirements of the Act will not be met
                where the employee “kicks-back” directly or indirectly to the
                employer or to another person for the employer's benefit the whole
                or part of the wage delivered to the employee.

29 C.F.R. § 531.35

        Plaintiff also had claims for two types of tipping violations. First, Plaintiff was

“encouraged” to tip Heart Breaker’s employees. The forced tipping, Plaintiff contends, is also a


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violation of 29 C.F.R. § 531.35, as it results in the dancers subsidizing the clubs’ payment of

wages to other employees. The second form of claimed damages for tips was the of individual

private dances to customers which was retained by Defendant rather than being paid to Dancers.

Defendant maintains these fees were fees charged by them and belonging to them. See

Kristensen Decl. at ¶ 25.

       Plaintiff contends that she worked at Heart Breakers from approximately late March 2019

to November 2020. Plaintiff worked roughly three days per week and eight hours per shift..

Plaintiff estimates she worked approximately 228 shifts and paid and claims she was required to

pay a nightly house fee and expected to tip out Heart Breaker’s employees. The exact amount

Plaintiff paid in house fees and tip outs was unknown at the time of settlement. Plaintiff

estimated her damages to be at least $26,448. See Kristensen Decl. at ¶ 26 However, at the time

of the settlement discussions, Plaintiff did not possess any documents supporting the amount of

shifts she claimed to have worked. See Kristensen Decl. at ¶ 27. Defendant contested Plaintiff’s

claims and asserted that Plaintiff only worked a single shift at Heart Breakers on March 29,

2019. See Kristensen Decl. at ¶ 28.

IV.    SETTLEMENT AGREEMENT

       The parties agreed to a gross settlement of $15,000. A number of factors contributed to

the resolution. First, Defendants asserted that Plaintiff only worked at Heart Breakers for a single

shift in March 29, 2019 and produced documentation to that effect. While Plaintiff believes she

worked more than one shift within the relevant period, a risk existed that Plaintiff would be

unable to demonstrate the full extent of her damages. Furthermore, the Covid-19 pandemic and

the lack of insurance were strongly taken into account by Plaintiff in deciding to resolve the

matter. Kristensen Decl. at ¶ 29. Defendants faced pressure on Plaintiff’s collective claims, the


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anticipated Motion for Conditional Certification, and the possibility that many more individuals

would opt-into this collective action.

           Plaintiff’s counsel’ lodestar was at least $12,292.50 and costs of $447. Kristensen Decl.

at ¶ 30.

           Pursuant to the agreement, Plaintiff’s counsel will receive $9,553 in fees ($2,700 less

than the lodestar of Kristensen LLP alone) and be reimbursed for $447 in costs. Plaintiff will

receive $5,000 in total. In a fee bearing case, with a strong likelihood of liability on the

employment issue, and the potential for additional opt in plaintiffs, there is incentive to proceed.

However, the real effects on Covid-19 on exotic dance club defendants, no insurance coverage,

and the real risk that Plaintiff would be unable to demonstrate the full extent of her damages

played a substantial role in deciding to settle. The settlement is a compromise of disputed issues.

Kristensen Decl. at ¶ 31.

           In exchange for the consideration described above, Plaintiff has agreed to dismiss her

causes of action for alleged violations of the FLSA and any state wage and hour claims

stemming from Plaintiff’s employment as alleged in the operative Complaint. Kristensen Decl. at

¶ 32.

V.         STANDARD FOR APPROVAL OF FLSA SETTLEMENT

           “When employees bring a private action for back wages under the [FLSA], and present to

the district court a proposed settlement, the district court may enter a stipulated judgment after

scrutinizing the settlement for fairness.” Lynn’s Food Stores, Inc. v. United States, 679 F.2d

1350, 1353 (11th Cir. 1982). The court must determine whether the settlement’s terms and

conditions represent “a fair and reasonable resolution of a bona fide dispute over FLSA




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provision” and reflect a “compromise of disputed issues [rather] than a mere waiver of statutory

rights brought about by an employer’s overreaching. Id. at 1354-55.

       To avoid a challenge to the validity of a settlement of FLSA claims, either approval by a

court or the Department of Labor is required. See Walton v. United Consumers Club, 786 F.2d

303, 306 (7th Cir. 1986)

       “If a settlement in an employee FLSA suit does reflect a reasonable compromise over

issues, such as FLSA coverage or computation of back wages, that are actually in dispute; we

allow the district court to approve the settlement in order to promote the policy of encouraging

settlement of litigation.” Lynn’s Food Stores, 679 F.2d at 1354. The FLSA was enacted for the

purpose of protecting workers from substandard wages and oppressive working

hours. Barrentine v. Arkansas–Best Freight System, 450 U.S. 728, 739 (1981). Therefore, an

employee’s right to fair payment cannot be “abridged by contract or otherwise waived because

this would nullify the purposes of the statute and thwart the legislative policies it was designed to

effectuate.” Id. Accordingly, FLSA settlements require the supervision of the Secretary of Labor

or the district court. See Lynn’s Food Stores, 679 F.2d at 1352-53. The FLSA also requires that a

settlement agreement include an award of reasonable fees. See 29 U.S.C. § 216(b) (“The court in

such action shall, in addition to any judgment awarded to the plaintiff or plaintiffs, allow a

reasonable attorney’s fee to be paid by the defendant, and the costs of the action”).

       Moreover, “a settlement is a compromise, a yielding of the highest hopes in exchange for

certainty and resolution.” Id. (quoting In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods.

Liab. Litig., 55 F.3d 768, 806 (3rd Cir. 1995) (other internal citations omitted)). As discussed

below, those factors strongly favor approval of this settlement.

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VI.    APPROVAL OF THE FLSA SETTLEMENT

       A.      Bona Fide Dispute

       “A bona fide dispute exists when there are legitimate questions about the existence and

extent of the defendant’s FLSA liability.” Jennings v. Open Door Mktg., LLC, No. 15-CV-4080-

KAW, 2018 WL 4773057, at *4 (N.D. Cal. Oct. 3, 2018) (quoting Gonzalez v. Fallanghina,

LLC, No. 16-cv-01832-MEJ, 2017 WL 1374582, at *2 (N.D. Cal. Apr. 17, 2017)). “That is, there

must be some doubt whether the plaintiffs will be able to succeed on the merits of their FLSA

claims.” Madrid v. teleNetwork Partners, LTD., No. 5:17-cv-04519-BLF, 2019 WL 3302812, at

*3 (N.D. Cal. July 23, 2019); see Selk v. Pioneers Mem'l Healthcare Dist., 159 F.Supp.3d 1164,

1172 (S.D. Cal. 2016) (quoting Collins v. Sanderson Farms, 568 F.Supp.2d 714, 719-720 (E.D.

La. 2008)).

       The Court should approve the settlement because it reflects a reasonable compromise of

bona fide dispute regarding Defendants’ alleged FLSA liability. There was no collusion in

reaching the Agreement. The Parties were adequately represented by competent counsel

experienced in litigating cases under the FLSA, and the Agreements reached were the result of

good-faith negotiation between the Parties. Substantial differences and risks existed for both

Plaintiff and Defendant. Kristensen Decl. at ¶ 33. The Parties have strenuously different opinions

about the classification of the dancers as employees or independent contractors and whether the

dance fee charged by and collected by the Defendant belonged to the Defendant or was a tip

belonging to the Plaintiff. Plaintiff believed her case was strong, but there was the risk she would

be unable to demonstrate the full extent of the days she worked at Heart Breakers. The settlement

did not make Plaintiff necessarily whole. However, that is not a requirement, and would render

most settlements unattainable. Kristensen Decl. at ¶ 34.


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        Because the Parties disputed these aspects of the case, the purpose of the bona fide

dispute requirement has been satisfied here. See Saleh v. Valbin Corp., No. 17-CV-0593-LHK,

2018 WL 6002320, at *2 (N.D. Cal. Nov. 15, 2018) (citing Lynn Food Stores, 679 F.2d at 1353

n.8) (“The purpose of this analysis is to ensure that an employee does not waive claims for

wages, overtime compensation, or liquidated damages when no actual dispute exists between the

parties.”).

        B.     Fair and Reasonable

        The Lynn’s Food Stores factors in determining whether a settlement is fair and

reasonable are: (1) the existence of fraud or collusion behind the settlement; (2) the complexity,

risk, expense, and likely duration of the litigation; (3) the stage of the proceedings and the

amount of discovery completed; (4) the strength of the plaintiff’s case and the probability of

plaintiff’s success on the merits; (5) the range of possible recovery; and (6) the opinions of the

counsel. See King v. My Online Neighborhood, No. 6:06-cv-435-ORL-22JGG, 2007 WL 737575

(M.D. Fla. March 7, 2007) (citing Leverso v. South Trust Bank of Ala., Nat’l. Ass’n., 18 F.3d

1527, 1531 n.6 (11th Cir. 1994)).

        When considering these factors, the Court should keep in mind the “‘strong presumption’

in favor of finding a settlement fair.” King, 2007 WL 737575, at *3 (quoting Cotton v. Hinton,

559 F.2d 1326, 1331 (5th Cir. 1977)).

        This Settlement was an arm’s length transaction negotiated between Mr. Kristensen and

Ms. Nelson. The litigation could have continued until December 12, 2022, 14 months away. See

Dkt. 17, ¶ 10; Kristensen Decl. at ¶ 35. The fees would have been insurmountable to a resolution

at that point. The parties were able to exchange evidence regarding Plaintiff’s tenure and concern

about the potential damages was made clear. The parties were able to assess their risk at an early


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stage. See Kristensen Decl. at ¶ 36. Courts have found FLSA cases settling for approximately

25%–35% of the total possible recovery to be reasonable. See, e.g., Jennings, 2018 WL 4773057,

at *5–*6; Selk, 159 F.Supp.3d at 1175; Glass v. UBS Financial Services, Inc., No. 06-CV-4068-

MMC, 2007 WL 221862, at *4 (N.D. Cal. Jan. 26, 2007), aff'd, 331 F. App’x 452 (9th Cir.

2009). Within the Seventh Circuit, even recovering 10% of a claim’s anticipated total value is

deemed to be a reasonable FLSA settlement. See Paredes v. Monsanto Co., No. 4:15-CV-088

JD, 2016 WL 1555649, at *2 (N.D. Ind. Apr. 18, 2016) (liquidated damages settlement of $100

or $250 per plaintiff deemed reasonable where it was anticipated such damages would not

exceed $1,010 per plaintiff). Also, while Plaintiffs’ counsel is receiving payment of reimbursable

costs and attorneys’ fees from the Agreement, there is nothing out of the ordinary in this

arrangement. See Slezak v. City of Palo Alto, No. 16-CV-03224-LHK, 2017 WL 2688224, at *5

(N.D. Cal. June 22, 2017) (“[C]ounsel is receiving a substantial fee. However, the class is also

receiving a significant monetary benefit.”).

       Lastly, counsel on both sides have experience in FLSA cases. As explained above, the

incentive for Plaintiff’s counsel to continue greatly outweighed the settlement resolution. The

matter settled as it was a fair compromise at an early stage in the proceedings. See Kristensen

Decl. at ¶¶ 2-18, 37.

VII.   ATTORNEY’S FEES & COSTS

       Plaintiff’s request for attorneys’ fees is reasonable and in line with many other district

court orders granting similar fees in FLSA settlements. FLSA settlements are distinct from Fed.

R. Civ. P. 23 (“Rule 23”) class action settlements and, as such, allow for a greater recovery of

fees. Judge Smith of the District of Rhode Island and Judge Casper of the District of

Massachusetts approved Plaintiff’s counsel’s exact same rates less than 30 days ago.              See


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Kristensen Decl. at ¶¶ 38-39; Exs. 4-5.

       A.       FLSA Collective Action Settlements Allow for a Greater Recovery Than Rule

                23 Class Action Settlement

       In Rule 23 class actions, attorneys more often than not seek fees in excess of their

lodestar by requesting that the court apply a positive modifier. See In re Tyco Int'l, Ltd.

Multidistrict Litig., 535 F.Supp.2d 249, 271 (D.N.H. 2007) (approving Rule 23 class action

settlement with lodestar multiplied of 2.697); see also In re TJX Companies Retail Sec. Breach

Litig., 584 F.Supp.2d 395, 408 (D.Mass. 2008) (applying a lodestar multiplier of 1.97); In re

Visa Check/MasterMoney Antitrust Litig., 297 F.Supp.2d 503, 524 (E.D.N.Y. 2003), aff'd sub

nom. Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96 (2d Cir. 2005) (applying lodestar

multiplier of 3.5). By contrast, here, Plaintiff’s counsel merely seeks a negative or inverse

multiplier, resulting in an award substantially less than their lodestar. See Kristensen Decl. at ¶¶

30-31; Ex. 2.

       FLSA settlements are subject to a different standard and allow for a greater recovery of

attorneys’ fees than do Rule 23 class action settlements in order to encourage attorneys to take on

these sorts of wage-and-hour cases. See Tallman v. CPS Sec. (USA), Inc., 23 F. Supp. 3d 1249,

1267 (D. Nev. 2014), aff'd, 655 F. App'x 602 (9th Cir. 2016) (“there is no requirement

that fee awards be proportionate to the monetary recovery, unduly restricting fee awards would

discourage attorneys from taking FLSA cases, and a successful FLSA claim vindicates statutory

rights, even if it does not result in a substantial monetary recovery.”); Fisher v. SD Prot. Inc.,

948 F.3d 593, 603 (2d Cir. 2020) (holding that a proportionality rule limiting attorney’s fees to

33% of total settlement would also be inconsistent with the remedial goals of the FLSA); see

also Earls v. Forga Contracting, Inc., No. 1:19-CV-00190-MR-WCM, 2020 WL 3063921, at *4


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(W.D.N.C. June 9, 2020) (noting that “courts have rejected the notion that [FLSA] fee awards

should be proportionately tied to a Plaintiff’s recovery.” (quotation omitted)); Kazanjian v. MSM

Enterprises, Inc., No. CIV. 93-227-P-C, 1995 WL 140153, at *3 (D.Me. Mar. 15, 1995) (“in an

FLSA fee determination, a court should not place undue emphasis on the amount recovered by a

plaintiff since the award of fees ‘encourages the vindication of congressionally identified policies

and rights,’ even if the recovery is only nominal.”).

       Indeed, the public policy encouraging attorneys to take on FLSA cases often results

in situations where the attorney’s fees surpass the Plaintiff’s award. See Okoro v. Pyramid 4

Aegis, No. 11-C-267, 2012 WL 12356838, at *1 (E.D. Wis. Nov. 15, 2012)(noting that

“proportionality between fees and damages is not required” and approving FLSA award of

attorneys’ fees represented 75% of total award under the lodestar approach, “multiplying a

reasonable hourly rate by the number of hours reasonably expended on the litigation”). Bonnette

v. California Health & Welfare, 704 F.2d 1465, 1473 (9th Cir.1983) (affirming $100,000 in

attorney fees on a judgment of $18,455 in damages); SKF USA Inc. v. Bjerkness, Nos. 08 C

4709, 09 C 2232, 2011 WL 4501395, at *3 (N.D. Ill. 2011) (refusing to reduce a $1.3 million

dollar award of attorneys' fees when the damages were only $81,068 because Congress

predetermined the claim was worth bringing even though there was great disparity between the

amount recovered and the attorneys' fees requested); also Fegley v. Higgins, 19 F.3d 1126, 1134

(6th Cir. 1994) ((affirming attorney fees of $40,000 on a judgment of $7,680 for overtime

compensation); Lucio–Cantu v. Vela, 239 Fed. App’x. 866 (5th Cir.2007) (finding no abuse of

discretion in award of $51,750 in attorney fees on a recovery of $4,679). In this case however,

Plaintiff’s attorneys merely seek an amount in fees which is less than their lodestar. See

Kristensen Decl. at ¶¶ 30-31; Ex. 2.


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        Therefore, the Court here should not limit itself in awarding attorney’s fees as if this case

were a Rule 23 class action. It is not a class action, but instead a collective action with public

policy considerations that afford a more generous calculation of fees.

        B.      Plaintiff’s Attorneys’ Fees Would Be a Reduction of the Lodestar and Would

                Therefore Be a Reasonable Award

        It is well settled that a reasonable amount of fees is determined pursuant to the “lodestar

approach,” which involves calculating “the number of hours reasonably expended on the

litigation multiplied by a reasonable hourly rate.” Gay Officers Action League v. Puerto Rico,

247 F.3d 288, 295 (1st Cir.2001) (quoting Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct.

1933, 76 L.Ed.2d 40 (1983)); Gary v. Carbon Cycle Arizona LLC, 398 F. Supp. 3d 468, 485 (D.

Ariz. 2019) (“[t]o determine a reasonable attorneys' fee under FLSA, the Court uses the lodestar

method.”); Mills v. Cabral, No. CIV.A. 06-10133-RGS, 2010 WL 2553889, at *1 (D.Mass. June

18, 2010) (“[i]n determining an appropriate award of fees and costs under the FLSA, the court

employs the lodestar approach.”); Marrotta v. Suffolk Cty., 726 F.Supp.2d 1, 25 (D.Mass. 2010)

(approving FLSA attorneys’ fees at lodestar amount).

        In this case, Plaintiff’s counsel have a lodestar of $12,292.50. See Kristensen Decl. at ¶

30; Ex. 2. However, Plaintiff’s counsel is merely seeking $9,553 in fees, which is less than their

lodestar. See Kristensen Decl. at ¶ 31 In other words, Plaintiff’s counsel are seeking roughly

$2,700 less than what they would otherwise be entitled to based on the time they have spent

litigating this matter. See id.

        The fees sought in this matter are commensurate with the time and effort exerted to

achieve a favorable settlement and the overall skill of Plaintiff’s attorneys. Plaintiff’s counsel are

well versed in both FLSA collective actions and Rule 23 class actions and have achieved


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numerous successful outcomes. See Kristensen Decl. at ¶¶ 2-18. Furthermore, Plaintiff’s

attorneys’ hourly rates are reasonable and are similar to those approved by other district courts

throughout the country. Kristensen Decl. at ¶¶ 38-43; Exs. 4-9.

       In Ariel Macklin v. Biscayne Holding Corp et al, 1:19-cv-00561-WES-PAS (D.R.I.

2019), Plaintiff’s counsel sought approval of a similar FLSA settlement involving the wage and

hour claims of exotic dancers. See Kristensen Decl. at ¶ 38; Ex. 4. In the Macklin case, Plaintiff’s

counsel sought a reduction of their lodestar. See id. Plaintiff’s counsel’s rates in Macklin were

the same as in the present case. See id. There, Judge Smith found both the settlement and the

attorney’s fees and costs to be reasonable. See Kristensen Decl. at ¶ 39; Ex. 5.

       Also, while the lodestar amount is presumed to be a reasonable calculation of attorneys’

fees, it is within the Court’s discretion to adjust the lodestar figure. See Marrotta, 726 F.Supp.2d

at 25. District courts in Wisconsin, Rhode Island, and Massachusetts have granted Plaintiff’s

counsel’s attorney’s fees at identical rates. See Kristensen Decl. at ¶¶ 38-43; Exs. 4-10.

       Ultimately, the FLSA settlements in this case represent a far more favorable outcome for

Plaintiff than if she pursued her claims through a Rule 23 class action. By virtue of their sheer

size, class actions often lead to a smaller award for each individual plaintiff. See Roe v. Jose

Torres L.D. Latin Club Bar, Inc., 2020 WL 2494569, at *3 (N.D. Cal. May 14, 2020) (granting

preliminary approval of Rule 23 settlement on behalf of exotic dancers that would pay “$836 per

class member”); Doe 1-2 v. Deja Vu Servs., Inc., 2017 WL 2629101, at *5 (E.D. Mich. June 19,

2017), aff’d sub nom. Does 1-2 v. Deja Vu Servs., Inc., 925 F.3d 886 (6th Cir. 2019) (approving

Rule 23 settlement on behalf of exotic dancers, many of whom worked in California, where “the

average payment from the cash pool will be around $200”); Kristensen Decl. at ¶ 44; Ex. 10,

Byrne v. Santa Barbara Hospitality Services, Inc., C.A. No. 17-00527, Dkt. 178 (C.D. Cal. Dec.


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14, 2018) (approving settlement proposing to pay 566 claiming class members between $350,884

to $598,453, or average shares of between $620 and $1057 per participating class member).

       Here, by contrast, the settlement for Plaintiff is $5,000. See Kristensen Decl. at ¶ 19; Ex.

1. Therefore, the proposed settlements in this matter demonstrate the benefits of pursuing FLSA

claims as a collective action rather than as a Rule 23 class action.

VIII. CONCLUSION

       For all the foregoing reasons, Plaintiff respectfully requests that the Court enter an order
approving the Settlement Agreement.

Dated: October 20, 2021                                /s/ John P. Kristensen
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                                 CERTIFICATE OF SERVICE

    I certify that on Wednesday, October 20, 2021 a true and correct copy of the attached
PLAINTIFF’S UNOPPOSED MOTION FOR APPROVAL OF FLSA SETTLEMENT was
served via CM/ECF upon the following parties pursuant to Rule 5 of the Federal Rules of Civil
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